           Case 7:19-cr-00547-CS Document 127 Filed 09/22/21 Page 1 of 5


                                                                                             Matin Emouna
                                                                                    Admitted in NY, NJ & CT
                                                                                    memouna@emiklaw.com



              LETTER REQUESTING APPOINTMENT OF CURCIO COUNSEL

                                                                 September 22, 2021
chambersnysdseibel@nysd.uscourts.gov
Honorable Cathy Seibel
The Hon. Charles L. Brieant Jr.
Federal Building and United States Courthouse
300 Quarropas Street
White Plains, NY 10601-4150

                                Re:     United States v. Mehdi Moslem et al.,
                                        19 Cr. 547 (CS)
Dear Judge Seibel:

        As you are aware, my firm, Emouna & Mikhail PC, is counsel of record for Defendant
Mehdi Moslem and Brafman & Associates, were counsels of record for Defendant Saaed Moslem,
until September 6, 2021, upon the filing of a Notice of Appearance by Timothy Parlatore, Esq. of
the Parlatore Law Group, LLP.

         Due to recent developments which include but not limited to (i) the filing of a Notice of
Appearance by Alison Drew of Parlatore Law Group, LLP dated September 17, 2021 (Dkt. 123)
(ii) the allegations made in Letter Motion addressed to Judge Cathy Seibel from Alison Drew dated
September 17, 2021 (Dkt. 124); and (iv) communications with Mehdi Moslem, there is a need for
the Court to appoint a CJA Curcio Counsel in order to insure his Sixth Amendment right to not
only choose his counsel but to also guarantee that he receives effective assistance of counsel. The
right to the effective assistance of counsel also includes the right to be represented by an attorney
who is free from conflicts of interest. 1

         By way of background, it is upon information and belief that prior to said two entries on
the docket, Parlatore Law Group had one single conversation with Mehdi Moslem, whereby there
were numerous other non-party individuals patched in on a conference call from prison. I am
further informed by one of those non-party individuals and Mehdi himself that the connection was
rather poor and inaudible. My understanding is that Mehdi Moslem did not understand that
Parlatore Law Group was going to represent him.

        In the interest of full transparency, I was not consulted prior to the bail package being
proffered. In fact, I made clear to the Parlatore Law Group that proffering a new bail package was
not in the client’s best interest at this time. I further repeatedly asked Parlatore Law Group what

       1
         See, e.g., Wood v. Georgia, 450 U.S. 261, 271, 101 S.Ct. 1097, 67 L.Ed.2d 220 (1981); Holloway
v. Arkansas, 435 U.S. 475, 481-82, 98 S.Ct. 1173, 55 L.Ed.2d 426 (1978); Armienti v. United States, 234
F.3d 820, 823 (2d Cir.2000); United States v. Blau, 159 F.3d 68, 74 (2d Cir.1998).

            T: 516-877-9111 ӏ F: 516-877-9112 Ι 100 Garden City Plaza, Suite 520, Garden City, NY 11530
          Case 7:19-cr-00547-CS Document 127 Filed 09/22/21 Page 2 of 5


their intentions were (i) to replace me as counsel for Mehdi Moslem, (ii) to work as co-counsel, or
(iii) to work as lead counsel with me taking a lesser role, but still be a member of Mehdi Moslem’s
defense team. In fact, I did not get a straight answer to this question, until after the two filings,
whereby I was informed by email, “please be advised that we filed the notice of appearance a
short while ago. I look forward to working together towards the best possible outcome for the
Moslems”.

        I believe that Mehdi Moslem needs separate counsel for the Curcio hearing to be held on
September 27, 2021. There appear to be a number of potential ethical issues at play, as well as a
number of potential conflicts of interest, if Parlatore Law Group replaces me as counsel for Mehdi
Moslem and also represents his son and co-defendant, Saaed Moslem. Independent Curcio counsel
can best assess the dimensions of this potential conflict of interest, advise Mehdi Moslem
accordingly, and determine whether Mehdi Moslem makes a knowing and voluntary waiver of his
right to conflict-free counsel.

        I also believe that I cannot in good conscience continue as Mehdi Moslem’s attorney so
long as he is also represented by Parlatore Law Group. This is because (i) Parlatore Law Group
has divergent and irreconcilable views regarding the litigation strategy and (ii) Parlatore Law
Group chose to make several allegations in Dkt. 124 that impugn my integrity. For example,
Parlatore Law Group wrote, “[a]s this Court is well aware, the Moslems did inform prior counsel,
Martin Emouna, of this encumbrance and Mr. Emouna chose not to inform the Government or the
Court of this until pressured by Mr. Moslem’s son.” (Dkt. 124 at 1). This is taken fully out of
context. The spreader agreements were discussed at great length in the second detention hearing
of June 22, 2021, which included a most detailed submission with Exhibits A through M. In the
interest of brevity, those facts and legal arguments are not repeated herein. The contents of said
Hearing is therefore respectfully incorporated herein and made a part hereof.

         The Parlatore Law Group also chose to include the following in its letter: “Material Errors
[sic] and Omissions [sic] by [sic] demonstrate, at best, that this Court was not presented with a
true and accurate picture of all the facts associated with the Defendant Moslem’s financial situation
and proprietary interests.” (Dkt. 124 at 4.) Because the sentence appears to have a typographical
error and omits the individual or entity who is accused of making the “Material Errors and
Omissions,” it is unclear whom the Parlatore Law Group is accusing of making errors and
omissions – but I believe they are referring to me. On the other hand, what is clear is that by
making these statements in connection with a bail application, The Parlatore Law Group has
created a regrettable and potentially irreconcilable conflict between me and my client. By creating
this conflict, Ms. Drew has all but assured herself a place, ethical constraints aside, as my client’s
new counsel. Under the circumstances, I cannot in good conscience be co-counsel with a law firm
that is accusing me of committing perhaps the most serious offense an attorney can commit:
deliberately misleading the Court. I submit that my effort and performance in this matter speaks
for itself; of course, the Court will be the arbiter of that point. Be it as it may, I am not concerned
here with my own reputation. I will sink or swim on my own, as I proudly have during my entire
legal career. Rather, my concern is that Mehdi Moslem receive the zealous and conflict-free
counsel to which he is entitled by law.
          Case 7:19-cr-00547-CS Document 127 Filed 09/22/21 Page 3 of 5


        In anticipation of the upcoming Curcio hearing on September 27, 2021, and not wishing to
undermine a bail application made by another attorney on behalf of my client, I respectfully request
that the Court appoint independent counsel to assist Mehdi Moslem in navigating the difficult and
unfortunate legal terrain that the Parlatore Law Group have created. I respectfully submit and
propose the following questions that I believe maybe relevant:

RE: Potential Conflict of Interest Posed By Co-Defendant’s Payment of Legal Fees

1. Did the members of the Parlatore Law Group, LLP visit you while you were incarcerated?

2. How many times did you speak to members of the Parlatore Law Group, LLP prior to them
   filing a Notice of Appearance on your behalf?

3. Do you know the Parlatore Law Group, LLP?

4. Did you retain the services of Alison Drew, Esq. of the Parlatore Law Group, LLP?

5. Do you wish to have Alison Drew, Esq. of the Parlatore Law Group, LLP be your attorney?

6. Did you know about the filing of the detention letter on your behalf?

7. Did you authorize Alison Drew, Esq. of the Parlatore Law Group, LLP to file the detention
   letter?

8. Do you understand that, in every criminal case, including this one, the defendant is entitled to
   the assistance of counsel whose loyalty to him or her is undivided, and who is not subject to
   any force or consideration that might in any way intrude upon the attorney’s loyalty to his or
   her client’s interests?

9. Have you received any inducements, promises, or threats with regard to your choice of counsel
   in this case?

10. Are you paying your attorneys’ fees or is someone else paying for them to represent you? Who
    specifically is paying them? How long has that been the case?

11. Do you have an understanding whether, in the future, they will continue to pay, indemnify, or
    reimburse your legal fees in this case? What is your understanding?

12. Because your attorneys are being paid by a third party, they may be influenced by this third
    party in connection with their representation of you, that is, they may be influenced to advise
    you to do things that are in the third party’s best interests and not in your best interests. For
    instance, if the third party is involved in the alleged crime, the third party may have a vested
    interest in having your lawyers advise you to accept sole responsibility for the unlawful scheme
    or to minimize the third party’s involvement with or knowledge of the scheme. Do you
    understand that? Do you understand that?

13. Have you consulted with counsel other than your attorneys about the risks associated with this
    potential conflict of interest?
          Case 7:19-cr-00547-CS Document 127 Filed 09/22/21 Page 4 of 5




14. Do you understand that you have a right to consult with another lawyer to determine whether
    you wish for them to continue representing you? Do you understand that the Court will give
    you an opportunity to do so, and that the Court encourages you to do so? Do you understand
    that, if you cannot afford other counsel, the Court will appoint counsel—free of cost to you—
    so that you may consult with conflict-free counsel about these issues?

15. Have any of your attorneys informed you that they have been compensated for their
    representation of you, directly or indirectly, by a co-defendant in this case?

16. Do you understand that in some circumstances your attorneys might have an incentive to put
    the interests of Saaed Moslem before yours?

17. Given that having your co-defendant Saaed Moslem pay your legal fees may adversely affect
    your defense, do you still believe that it is in your best interest to proceed with your attorneys?

18. Is that your wish?

19. Do you understand that by continuing in this fashion with your attorneys, you are waiving your
    right to be represented by an attorney who has no conflict of interest?

20. Are you knowingly and voluntarily waiving your right to conflict-free representation?

21. Do you agree to waive any post-conviction argument, on appeal or otherwise, that by virtue of
    having a third party—and, indeed, your co-defendant—pay your legal fees, you were denied
    effective assistance of counsel?

22. Is there anything that the Court has said that you wish to have explained further?

RE: Representation of Matin Emouna in the past and continued representation

   1. Are you satisfied with the services of your attorney, Matin Emouna, thus far in the case?

   2. Do you wish Matin Emouna to continue representing you?

   3. Do you wish Parlatore Law Group, LLP to represent you in this matter?

   4. Do you wish to terminate Matin Emouna’s Services and only work with Parlatore Law
      Group?

   5. Do you wish to Matin Emouna’s to continue representing you with Parlatore Law Group?

   6. Tell me in your own words what your understanding is of the potential conflict of interest
      arising in this situation between the law firm of Emouna & Mikhail PC and the Parlotore
      Law Group?
            Case 7:19-cr-00547-CS Document 127 Filed 09/22/21 Page 5 of 5




RE: Right to Conflict-Free Representation

      1. Do you understand that you have the right to object to your attorneys’ continued
         representation of you based upon the existence of a potential conflict of interest?

      2. It is important that you understand that no one can predict with any certainty the course
         that this case will take or how this conflict may affect it.

      3. What is your understanding of the right to “effective assistance of counsel”?

      4. Is there anything I have said that you wish to have explained further?

      5. I will give you an opportunity to think about what you have been told, and, if you would
         like, to talk it over with counsel other than your attorneys. After you have thought it over,
         I will ask whether you have considered the matters that I have talked to you about, either
         with or without an attorney. Then I will ask whether you wish to continue with your
         attorneys.

      6. Do you need court-appointed counsel for the purpose of consulting with you about these
         conflict-of-interest issues?

      I apologize to the Court in advance for making this request. As always, I greatly appreciate
Your Honor’s time and consideration in this matter.

                                                                Respectfully Submitted,



                                                               MATIN EMOUNA
cc:      alisonmuradian@gmail.com
         Daniel.Loss@usdoj.gov
         James.McMahon@usdoj.gov
         Nicholas.Bradley2@usdoj.gov
         Walter_Clark@nysd.uscourts.gov
